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UNITED STATES DISTRICT COURT

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SOUTHERN DIVISION Ul l
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DISTRICT OF SOUTH DAKO'I`A

PATRICK BAUMGARTNER, * CIV 05-4078
*
Plaintiff, *
*

vs. * JUDGMENT OF DISMISSAL

*
FARMLAND MUTUAL INSURANCE *
COMPANY, *
*
*

Defendant.

*****************$********************************$**************************

Based upon the Joint Motion and Stipulation for Judgment of Disrnissal of the parties, it
is hereby,

ORDERED, ADJUDGED AND DECREED that the action is hereby dismissed upon the

merits, with prejudice and with each party to bear its own costs.
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Dated this 93 clay of July, 2006.
BY THE COURT:
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lawrence L. Piersol
United States District Judge

 

ATTEST:
JOSEPH HAAS, CLERK

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